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September 10th, 2021

The Honorable Katherine Polk Failla
Southern District of New York
Thurgood Marshall Courthouse

40 Foley Square - Courtroom 618
New York, New York 10007

Re: Antolin vs. N Corporation et al
Case No.: 1:19-cv-07385 KPF

Dear Judge Failla,

| represent Mr. Antolini in the above matter. In anticipation of the Pretrial scheduled for
the 15" °f this month, Plaintiff would like to advise the Court of recent developments
leading to the productive resolution of this matter.

To remind your Honor, in Plaintiff's proposed Joint Pre-Trial Order dated September 1,
2021, we referenced (par 13) a Consent Decree to resolve the matter. As you know, it
would necessitate the Court’s signature for its enforceability and Plaintiff's counsel has
submitted a draft Consent Decree to defense counsel today for his review.

| will continue to update your Honor as things move forward.

 
